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ProSe2(Rev.12/16)ComplaintandRequestforInjunction


                                     U NITED STATES D ISTRICT C OURT
                                                                  forthe
                                                             .   Districtof

                                                                       D ivision

                   Loreqa M DiTocco
                                                                           CaseNo.
                                                                                       (tobeslledinbytheClerk'
                                                                                                             çOffice)
                                                                                                             .

                        Plaint#-
                               JI'
                                 JJ
 F ritethefullnameofeachplaintt whoisslingthi
                                            scomplaint.'
lfthenamesofalltheplqint@jcannotstinthespaceabove,
pleasewrite 'f
             â'
              eeattached''in thespaceandattachanadditional
pagewiththefulllistofnames.
                          )
                            -   V-

        Elon Musk                      Luke Farritor                                 FILED BY                   D.C.
        Steve Davis              GuatierCole Killian
        Akash Bobba                   Gavin Klinger
        Edward Corsitine            Ethan Shaotran                                               FE8 22 2025
                                                                                               ANGELAE.NOBLE
           .              pepndantg)                                                        S CLEBK
                                                                                              D.OFFULA.
                                                                                                     .S.-D1
                                                                                                          sT
                                                                                                         KE  cT.T
                                                                                                           Y.WES
                                                                                             .
F ritethefullntzzlcofeachdefendantwhoisbeingsl/ct  ;
                                                   l Ifthe
namesofallthedefendantscannoth'  tin#0espaceabove,please
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       çeeattached''ï;;thespaceandattachantzltfâjtwtjfpage
withf/le/flllistofnames. )


                                COM PLAN            AND REQUEST FOR INJUNCTION

1.       ThePartiesto ThisCom plaint
         A.       ThePlaintiffts)
                  Providethe information below foreach plaintiffnamed in thecomplaint. Attach additionalpagesif
                  needed.
                           N am e                            Loretta M DiTocco
                           StreetAddress                     1018JAmes Street
                           City and County                   Key W est             Monroe
                           StateanbZipCode                   Flori
                                                                 da                33040
                           TelephoneNumber                   732 232 4738
                           E-mailAddress                     Iorettamdt@ gmail.com


         B.       TheDefendantts)
                  Providetheinformation below foreach defendantnamed in the compla'int, whetherthedefendantisan
                  indivibual,agovernmentagency,anorganization,oracoporation.Foranindividualdefendant,
                  includetheperson'sjobortitlelfknowql.Attachadditionalpagesifneeded.
                                                                                                                        Page1or6
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ProSe2(Rev.12/16)ComplaintandRequestforIniuncti
                                              on

                 DefendantNo.1
                          Nnme                     Ejon Musk
                          Job orTitle (I
                                       fknown)     specialGovernmentEmployee Head ofDOGE
                          StreetAddress            EisenhowerExecutive Bldg, 1600 Pennsyl
                                                                                        vania Ave NW
                          City and County          w ashington DC
                          Stateand Zip Code        20504
                          TelephoneNumber          2c22z5cl2j
                          E-mailAddress(Ifknown)   doge@ mail.house.gov                                      -




                 DefendantNo.2
                          Name                     Steve Davis
                          Job orTitle (Ifknown)    DOGE Mgr
                          StreetAddress            EisenhowerExec.Bldg
                          City and County          1600 Pennsylvania Ave NW       '
                          Stateand Zip Code        W ashington DC                     .
                          TelephoneNumber          202 225 0123
                          E-mailAddress(kknown)    doge@ mail.house.gov

                 DefendantNo.3
                          Nam e                    AKASH B OBBA
                          Job orTitle (çknown)     DOGEN am
                          StreetAddress            1600 Pennsylvania Ave NW
                          City and County          EISENHOW ER EXECUTIVE BUILDING
                          Stateand Zip Code        1600 PENNSYLVANIA AVE NW
                          TelephoneNum ber         202 225 0123
                          E-mailAddress(Iflumwn)   doge@ mailghouse.gpv

                 DefendantNo.4
                          Name                     Edward Coristine
                          Job orTitle (ifknown)    DOGE Team
                          StreetAddress            1600 PennsylvaniaAve NW '
                          City and County          EISENHOW ER EXECUTIVE BUILDING
                          Stateand Zip Code        W AGHINGTON DC         20504
                          TelephoneNum ber         202504
                          E-mailAddress(Ifknown)   doge@ mail.house.gov


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          ProSe2(Rev.12/16)èomplaintandRequestforInjunction               '               .

                           DefendantNo.l
                                       Name                      uuke Farritor
                                       Job orTitle (ifknown)     DOGE Team
                                       StreetAddress             EigenhowerExecuti
                                                                                 ve Bldg, 1600 PennsylvaniaAve NW
                                       City and County           W qshington DC
    ' '
    . .
                                       stateandZipCode           j0504
                                       TelephoneNumber           202 225 012a
                                       E-mailAddress(kknown)     doqe@ mail.house.gov                                          .




                            DefendantNo.2                                     '
                                       Name                      Gautiercole Killian
                                       Job orTitle(Ifknown)      ooGE Team
                                       StreetXddresj             EiserihowerExec Bldg .


                                       City and County           j6ccpennsylvaniaAveNW
.             '        g
                                       StateandZip Code          W ashington DC               .


                                       TelephoneNumber           2O2 225 0123
                                       E-mailAddress (êknown)    doge@ mail.house.gov
     y
     .                             '

                            DefendantN o.3                            '
                                       N ame                     Ethan shaotran                       ,

                                       Job orTitle (Ifknown)    ' DOGE Team
                                       StreetAddress             j6c()pennsylvania Ake NW
                                       City and County           EISENHOw ER EXECUTIVE BUILDING
                                       StateandZipCode           1600PENNSYLVXNIAAVENW
                                       TelephoneNumber           202 225 0123
                                       E-mailAàdress(Ifknown)    doge@ mailhouse.gov
                                                                              .




                            DefendantNo.4           '
                                       Nam e                     Gavin Klinger
                                       Job orTitle (êknown)      ooGE Team
                                       StreetAddress             1600 pennsylvania Ave NW         .


                                       City and County           EISENHOW ER EXECUTIVE BUILDING
                                       Stateand
                                              .
                                                Zip Code         w AGHINGTON Dc           20504           '
                                                                  .

                                       TelephoneNumber           2c2504
                                       E-mailAddress(t
                                                     fknown)     jpgqg mail.house.gov
                                                                      -




                                                                                  '
                                                                          .                                         Page2of6
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ProSe2(Rev.12/16)ComplaintandRequestforInjunction           .

II.     BasisforJurisdiction

        Federalcourtsarecoultsoflimitedjurisdiction(liinitedpower).Generally,onlytwotypesofcasescan be
        heard in federalcourt:casksinvolving afederalquestion and casesinvolving diversity ofcitizenship ofthe
        parties.Under28U.S.C.j 1131,acasearisingundertheUnited StatesConstimtionorfederallawsortreaties
        isafederalquestioncase.Under28U.S.C.j1332,acaseinwhichacitizenofoneStatesuesacitizenof
        anotherState ornation and the amountatstake ismorethan $75,000 isadiversity ofcitizenship case.ln a
        diversity ofcitizenship c% e,no defendantmay be acitizenofthe snme State asany plaintiff.

        W hatisthebasisforfederalcourtjurisdiction? (checkaIIthatapply)
                   Federalquestion                          Diversity ofcitizensMp


        Filloutthe paragraphsin thissection thatapplytothiscase.

        A.       lftheBasisforJurisdictionIsaFederalQuestion
                 Listthespecificfederalstatutes,federaltreaties,and/oiprovisionsoftheUnited StatesConstimtion that
                 areatissùe'inthisc% e.
                 FourthAmendmentprotedting and safeguarding pers6nalinformation
                 PrivacyActof1974
                 Gramm-Leach-Bliley Act

        B.       IftheBasisforJurisdiction IsDiversity ofCitikenship

                           Tt
                            aePlaintiffts)
                                    lftheplaintiffisan individual
                                    Theplaintiff, (name)                                            ,isa citizen ofthe
                                    State of(name)                                           .

                           b.       Iftheplaintiffisa corporation
                                    Theplaintiff, (name)                                            ,isincorporated
                                    underthelawsoftheState of(name)                                                   ,
                                    and hasitsprincipalplaceofbtlsinessin theStateof(name)



                           (lfmorethanoneplaintt isnamedinthecomplaint,attachanadditionalpageprovidingthe
                           sameinformationforeach additionalplaintt )
                           TheDefendantts)
                           a.      lfihe defendantisan individual
                                   The defendant, (name)                                            ,isacitizen of
                                   theStateof(name)                                              . Orisa citizenof
                                    (forei
                                         gnnation)


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                          b.       Ifthedefendantisa corporation
                                   Thedefendant, (name)                                       ,isincorporatedtmder
                                   the lawsofthe State of(name)                                         ,and hasits
                                   principalplace ofbusinesjin the State oflname)                                     .
                                    Orisincoporatedunderthelawsof(forei
                                                                      gnnation)                                       ,
                                    andhmsitsprincipalplace ofbusinessin (name)

                           (Ifmorethanonedefendantisnamedinthecomplaint,attachanadditionalpageprovidingthe
                           sameinformationforeachadditionalde# ndant)
                  3.       TheAmountin Controversy

                           TV amountin controversy-theamounttheplaintiffclaimsthedefendantowesortheamountat
                           stake-ismorethan $75,000,notcounting interestand costsofcourt,because (explain):




111.     Statem entofClaim

         W riteashortand plain statementofthe claim .Do notmakelegalarguments.Statemsbriçfly aspossiblethe
         factsshowingtlzateachplaintiffisentitledtotheinjunction orothefreliefsought.Statehow eachdefendant
        wmshwolved and whateach defendantdidthatcuusedtheplaintiffhal'   m orviolated theplaintifl'srights,
        including the datesand placesofthatinvolvem entorconduct. lfm ore than one claim isasserted,numbereach
        claim and wlite ashortandplain statementofeach claim in aseparateparagraph.Attach additionalpagesif
        needed.

         A.       W heredidtheeventsgivingrisetoyourclaimts)occur?
                  OnJanuary31,2025,ElonMusk'sDepartmentofGovernmentEciciency(DOGE)wasgrantedaccess
                  to the U,S.Treasury Depadment'spaymentsystems.




         B.       W hatdateandapproximatetimedidtheeventsgivingrisetoyourclaimts)occur?
                  January 31,2025 Time unknown




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                  W hatarethefactsunderlyingyourclaimtsl? (Forexample. r
                                                                       '
                                                                       F'
                                                                        /l
                                                                         alhappenedtoyou? rfr
                                                                                            àtpdidwhat?
                  Wastznyoneelseinvolved? Whoelseâ't
                                                   zw whatImppened/)

                  The factsare thatthe presentPresi
                                                  dentofthe US gave perm ission to Elon Muskto create DOGE and
                   Muskhired4team oftechpeopl
                                            e to accessvariousfederalsystems.
                  These people are notemployees ofthe federalgovernmentand have notsworn allegience to the
                  Constitution.They have notbeen properly veoed and 1believe they do nothave propersecurity
                  clearance.




W.       lrreparableInjury
         ExplainwhymonetarydamagesatalatertimeFouldnotadequatelycompensateyoufortheinjuriesyou
         susïined,are sustining,orwillsustain asaresultofthe eventsdescribed above,orwhy such compensation
         could notbem easured.

        Violation of'the Privacy Act0f*1974 and Gramtn-Leach-Bliley Act
                                '

         fîola,
              A.* .
                  4 4%-.                   ealzyr o &
                                                    :




V.       Relief

         Statebriefly andprecisely whatdamagesorotherrelleftheplaintiffasksthecourttoorder.Donotmakelegal
         argum entj. Include any basisforclaim ing thatthe wrongsalleged are contintling atthepresenttim e.Include
         theam ountsofany achlaldnm agesclaimed forthe actjalleged and the basisforthese am ounts. Include any
         punitive orexemplâry dam agesclaimed,the am oimts,and the reasonsyou claim you are entitled to actualor
         punitive m oney dam ages.
         Iam asking forthe removalofDOGE and com pensation perthe Ietterofthe law.




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W .     Certincation and Closing

        UnderFederalRuleofCivilProcedure 11,by signipg below,1certify to thebestofmy knowledge,information,
        andbeliefthatthiscomplaint:(1)isnotbeingpreseniedforanimproperpurpose,suchastoharass,cause
        unnecessarydelay,orneedlessly incremsethecostoflitigation;(2)issupportedbyexisting1aw orbya
        nonfrivolous'argumentforextending,modifying,orreversingexistinglaw;(3)thefactualcontentionshave
        evidentiay supportor,ifspecificallysoidentified,willlikelyhaveevidentiarysupportafterareasonable
        opportumtyforfdrtherinvestigationordiscovery;and(4)thecomplaintotherwisecomplieswiththe
        requirementsofRule 11.

        A.       ForPartiesW ithoutan Attorney

                 Iagreetoprovidethe Clerk'sOftke with any changesto my addresswherecase-related papersm ay be
                 served.Iunderstandthatm y failure to k:ep acurrentaddresson t5lewiththeClerk'sOffice may result
                 inthedismissalofm y éase.

                 Dateofsigning:                    0:/06/2025


                 SignatureofPlaintiff                           r
                 Printed Name ofPlaintiff           Loreda M DiTocco

         B.      ForAttorneys

                 Date ofsigning'
                               .


                 SignatureofAttorney
                 Printed Name ofAttorney
                 BarKumber
                 Nam eofLaw Filnn '
                 StreetAddress
                 Stateand Zip Code
                 TelephoneNumber
                 E-mailAddress




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